 8:13-cr-00113-LSC-FG3         Doc # 98      Filed: 08/19/13     Page 1 of 2 - Page ID # 218




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:13CR113
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )              TENTATIVE FINDINGS
                                                )
JONATHAN MARTINEZ,                              )
                                                )
               Defendant.                       )

       The Court has received the Presentence Investigation Report (“PSR”). The Defendant

filed a Sentencing of Position/Objection to PSR (Filing No. 95). The government did not

object to the PSR. See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United States

v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.      The Defendant’s Sentencing of Position/Objection to PSR (Filing No. 95) will

be heard at the sentencing hearing;

       2.      The Court intends to adopt the PSR in all other aspects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing
 8:13-cr-00113-LSC-FG3        Doc # 98      Filed: 08/19/13   Page 2 of 2 - Page ID # 219




is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 19th day of August, 2013.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  Chief United States District Judge




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